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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                                               CRIMINAL ACTION NO. 1:04CR135-P-D


EARL COUSINS, et al

                                              ORDER

       This cause is before the Court on motions for continuance filed by defendants Irons [126-1]

and Shotwell [128-1]. The Court, having reviewed the motions and being otherwise fully advised

in the premises, finds as follows, to-wit:

       The trial of this matter is currently set for June 6, 2005. Counsel for defendants seek a

continuance in order to complete additional investigation, to consult more fully with their respective

clients and to prepare a defense as to the charges pending against them. The government does not

object to the requested continuance. Based on the foregoing, the Court finds that the defendants’

motions are well-taken and should be granted.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A),

the period of delay from June 6, 2005 until the new trial date to be set in this matter. The time is

excludable under subsection (h)(8)(A) because, given the circumstances described above, a

continuance is necessary to afford defendants additional time to investigate and prepare their

defenses to the charges at issue. Therefore, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendants in a speedy trial.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that
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  1.    The defendants’ Motion(s) for Continuance [126-1] and [128-1] are GRANTED;

  2.    That the trial of this matter is continued as to all remaining defendants until Monday,

        August 8, 2005 at 9:00 a.m. in the United States District Courthouse in Greenville,

        Mississippi;

  3.    That the delay from June 6, 2005 until August 8, 2005 is excluded as set out above;

  4.    That the deadline for filing pretrial motions is July 18, 2005;

  5.    That the deadline for submitting a plea agreement is July 25, 2005.

  SO ORDERED, this the 24th day of May, 2005.



                                               /s/ W. Allen Pepper, Jr.
                                               W. ALLEN PEPPER, JR.
                                               UNITED STATES DISTRICT JUDGE
